
Brevard, Jt
I am of opinion the motion *199ought to prevail. The act of Assembly, of February, 1791, enumerates all the fees which the public officers are entitled to demand and receive : and de-dares that the fees, therein mentioned, and no others, shall be paid and received, for the different services specified in the act, in lieu of all other demands, for the said services.
The act professes to provide an adequate compensation, for all services performed, which are not discretionary or voluntary. It may be casus omissis, and unintentional; but certainly there is no provision made, for compensating the attorney, for issuing a writ of attachment for contempt, or for any assistance to be rendered by him in such case.
Perhaps it might have been considered, by the Legislature, which passed the act, that the attorney of the party, at whose instance the writ is issued, for contempt in disobeying the order and precept of the court, has no business with the issuing of it; it being the duty of the clerk of the court to issue this writ, as well as writs of mandamus, and bench warrants, pursuant to the special order of the court.
Justices, Grimkie, Nott, and Waties, concurred.
Colcock, J.
The act of 1691, says, for filling up a writ, twenty shillings shall be allowed, and of course I thing that sum should be taxed this being *200most indisputably a writ, and having no more analogy to an execution, than any other writ. I am, therefore, against the motion.
Justice Bay concurred with Justice Colgock.
